        Case 3:21-cv-04736-EMC Document 129 Filed 03/01/22 Page 1 of 15



 1   LEWIS & LLEWELLYN LLP
     Evangeline A.Z. Burbidge (Bar No. 266966)
 2   eburbidge@lewisllewellyn.com
 3   Marc R. Lewis (Bar No. 233306)
     mlewis@lewisllewellyn.com
 4   Kenneth M. Walczak (Bar No. 247389)
     kwalczak@lewisllewellyn.com
 5   Bradley E. Estes (Bar No. 298766)
     bestes@lewisllewellyn.com
 6   601 Montgomery Street, Suite 2000
 7   San Francisco, California 94111
     Telephone: (415) 800-0590
 8   Facsimile: (415) 390-2127

 9   David J. Cook (Bar No. 60859)
     COOK COLLECTION ATTORNEYS, PLC
10   ATTORNEYS AT LAW
11   165 Fell Street
     San Francisco, CA 94102
12   Telephone: (415) 989-4730
     Facsimile: (415) 989-0491
13   Cook@CookCollectionAttorneys.com
14
     Attorneys for Petitioner EDAG Engineering GmbH,
15   a corporation organized and existing under the laws
     of the Republic of Germany (“EDAG”)
16

17                              UNITED STATES DISTRICT COURT

18           NORTHERN DISTRICT OF CALIFORNIA – SAN FRANCISCO DIVISION

19
20   EDAG Engineering GmbH,                                Case No. 3:21-cv-04736-EMC

21           Petitioner,                                   PETITIONER EDAG’S OPPOSITION TO
                                                           RESPONDENT’S MOTION TO VACATE
22           v.                                            THE ARBITRATOR’S NOVEMBER 8,
23   BYTON North America Corporation,                      2021 ORDER

24                                                         Date:        June 30, 2022
             Respondent.                                   Time:        1:30 p.m.
25                                                         Location:    via Judge Chen’s
                                                                        Videoconference – Link
26
                                                           Judge:       Hon. Edward M. Chen
27

28

                     OPP. TO MOTION TO VACATE NOVEMBER 8, 2021 ORDER
                                 CASE NO. 3:21-CV-4736-EMC
            Case 3:21-cv-04736-EMC Document 129 Filed 03/01/22 Page 2 of 15



 1                                                       TABLE OF CONTENTS
 2                                                                                                                                           Page
 3
     TABLE OF CONTENTS ..................................................................................................................... 2
 4

 5   TABLE OF AUTHORITIES ................................................................................................................ 3

 6   I.       INTRODUCTION ..................................................................................................................... 6

 7   II.      APPLICABLE LAW ................................................................................................................. 8

 8   III.     ARGUMENT ............................................................................................................................ 9
 9             A.        THE COURT CAN AND SHOULD CONFIRM THE
                         ARBITRATOR’S ORDER. ......................................................................................... 9
10
                         1.         Judge Cahill Correctly Interpreted the TDLA. ................................................. 9
11
                         2.         Judge Cahill’s Decision Meets the Federal Standard. .................................... 10
12
               B.        BYTON NA’S ARGUMENTS FAIL. ....................................................................... 11
13                       1.         The Functus Officio Doctrine Does Not Apply. ............................................. 11
14                       2.         The Court Can and Should Make Injunctive Relief Permanent. .................... 13

15             C.        IF THE ARBITRATOR’S ORDER IS NOT CONFIRMED,
                         BYTON NA WILL ACCESS EDAG’S INTELLECTUAL PROPERTY
16                       WITHOUT PAYING. ................................................................................................ 14
17
     IV.      CONCLUSION ....................................................................................................................... 15
18

19
20

21

22

23

24

25

26

27

28
                                                     2
                            OPP. TO MOTION TO VACATE NOVEMBER 8, 2021 ORDER
                                        CASE NO. 3:21-CV-4736-EMC
         Case 3:21-cv-04736-EMC Document 129 Filed 03/01/22 Page 3 of 15



 1                                                     TABLE OF AUTHORITIES
 2                                                                                                                                     Page(s)
 3   CASES
 4
     ABC Int'l Trades, Inc. v. Fun 4 All Corp.,
 5       79 F. App'x 346 (9th Cir. 2003) ........................................................................................... 12

 6   Allied-Bruce Terminix Cos. v. Dobson,
           513 U.S. 265 (1995) ............................................................................................................... 8
 7

 8   Bank Leumi, USA v. Miramax Distribution Servs., LLC,
          No. 2:18-CV-07574-SVW-KS, 2018 WL 7568361 (C.D. Cal. Dec. 27, 2018) ................... 12
 9
     Bosack v. Soward,
10        586 F.3d 1096 (9th Cir. 2009) .............................................................................................. 12
11
     Courier–Citizen Co. v. Boston Electrotypers Union,
12        No. 11, 702 F.2d 273 (1st Cir.1983)..................................................................................... 13

13   DHL Info. Servs. (Americas), Inc. v. Infinite Software Corp.,
         502 F. Supp. 2d 1082 (C.D. Cal. 2007) ................................................................................ 12
14
     Eastern Seaboard Construction Co., Inc. v. Gray Construction, Inc.,
15
          553 F.3d 4 (1st Cir. 2008) .................................................................................................... 12
16
     eBay Inc. v. Inc. v. MercExchange, L.L.C.,
17        547 U.S. 388 (2006) ............................................................................................................. 14
18   Ferguson v. Corinthian Colleges, Inc.,
19        733 F.3d 928 (9th Cir. 2013) ................................................................................................ 12

20   Ficek v. S. Pac. Co.,
          338 F.2d 655 (9th Cir. 1964) ................................................................................................ 11
21
     French v. Merrill Lynch,
22        784 F.2d 902 (9th Cir. 1986) ................................................................................................ 11
23
     G.C. and K.B. Invs., Inc. v. Wilson,
24        326 F.3d 1096 (9th Cir. 2003) .............................................................................................. 11

25   Glass, Molders, Pottery, Plastics, and Allied Workers Int'l Union v. Excelsior Foundry Co.,
          56 F.3d 847 (7th Cir. 1995) ............................................................................................ 12, 13
26

27   Impex Enterprises Ltd. v. Sony Pictures Worldwide Acquisitions, Inc.,
          No. CV2171044SJOSKX, 2018 WL 1413089 (C.D. Cal. Jan. 9, 2018)................................ 9
28
                                                     3
                            OPP. TO MOTION TO VACATE NOVEMBER 8, 2021 ORDER
                                        CASE NO. 3:21-CV-4736-EMC
         Case 3:21-cv-04736-EMC Document 129 Filed 03/01/22 Page 4 of 15



 1                                             TABLE OF AUTHORITIES (CONT.)
 2                                                                                                                                     Page(s)

 3   Ingle v. Circuit City,
           408 F.3d 592 (9th Cir. 2005) .................................................................................................. 9
 4
     Int'l Bhd. of Teamsters, Chauffeurs, Warehousemen & Helpers of Am., AFL-CIO, Loc. 631 v.
 5
     Silver State Disposal Serv., Inc.,
 6          109 F.3d 1411 (9th Cir. 1997) .............................................................................................. 13

 7   Kyocera Corp. v. Prudential-Bache Trade Servs., Inc.,
         341 F.3d 987 (9th Cir. 2003) ................................................................................................ 10
 8
     Lifescan, Inc. v. Premier Diabetic Servs., Inc.,
 9
           363 F.3d 1010 (9th Cir. 2004) .............................................................................................. 10
10
     McClatchy Newspapers v. Central Valley Typographical Union,
11       No. 46, 686 F.2d 1103 (9th Cir.1982) ................................................................................. 12
12   Mitsubishi Motors Corp. v. Soler Chrysler–Plymouth, Inc.,
          473 U.S. 11 (1985) ................................................................................................................. 8
13

14   Monsanto Co. v. Geertson Seed Farms,
         561 U.S. 139 (2010) ............................................................................................................. 14
15
     R.J. Kuhl Corp. v. Sullivan,
16         13 Cal. App. 4th 1589 (1993) ................................................................................................. 9
17
     Rogers v. Royal Caribbean Cruise Line,
18        547 F.3d 1148 (9th Cir. 2008) ................................................................................................ 8

19   Scholl v. Mnuchin,
          494 F. Supp. 3d 661 (N.D. Cal. 2020).................................................................................. 13
20

21   Simula, Inc. v. Autoliv, Inc.,
          175 F.3d 716 (9th Cir. 1999) ................................................................................................ 12
22
     SMC Promotions, Inc. v. SMC Promotions,
23       No. 04-CV047107JFWVBKX, 2006 WL 6219155 (C.D. Cal. Jan. 19, 2006) .............. 10, 11
24   United States v. Lummi Indian Tribe,
25        235 F.3d 443 (9th Cir. 2000) .................................................................................................. 9

26   United States v. Romm,
          455 F.3d 990 (9th Cir.2006) ................................................................................................. 10
27

28
                                                     4
                            OPP. TO MOTION TO VACATE NOVEMBER 8, 2021 ORDER
                                        CASE NO. 3:21-CV-4736-EMC
          Case 3:21-cv-04736-EMC Document 129 Filed 03/01/22 Page 5 of 15



 1                                                 TABLE OF AUTHORITIES (CONT.)
 2                                                                                                                                                 Page(s)

 3   FEDERAL STATUTES

 4   Title 9, U.S.C.
           § 2 ........................................................................................................................................... 8
 5
           § 9 ........................................................................................................................................... 8
 6         § 12 ......................................................................................................................................... 8

 7   STATE STATUTES

 8   California
           Cal. Code Civ. Proc. § 680.010 .......................................................................................... 7, 9
 9
           Cal. Code Civ. Proc. § 683.010 .......................................................................................... 7, 9
10         Cal. Code Civ. Proc. § 699.040 ............................................................................................ 10

11   FEDERAL RULES
12   Federal Rules of Civil Procedure
          Rule 69................................................................................................................................ 7, 9
13

14

15

16

17

18

19
20

21

22

23

24

25

26

27

28
                                                        5
                               OPP. TO MOTION TO VACATE NOVEMBER 8, 2021 ORDER
                                           CASE NO. 3:21-CV-4736-EMC
          Case 3:21-cv-04736-EMC Document 129 Filed 03/01/22 Page 6 of 15



 1                                         I.      INTRODUCTION
 2            On December 13, 2021, this Court confirmed the Arbitrator’s June 2, 2021 Final Award, and
 3   entered judgment in favor of Petitioner EDAG Engineering GmbH (“EDAG”). Docket No. 49.
 4   During the hearing on EDAG’s Motion for Entry of Judgment, the Court determined that the
 5   Arbitrator’s November 8, 2021 Order (“11/8/21 Order”) (see Docket No. 25 (Notice of Entry of
 6   Injunction, filed 11/8/21) constituted a separate decision subject to independent confirmation. See
 7   also Order on various motions, filed 1/13/22 (Docket No. 89), 2:18-25 & 5:11-23.
 8            The Arbitrator issued the November 8, 2021 Order to preserve his Final Award and to
 9   protect EDAG’s ability to collect on a judgment in its favor. The order relied, inter alia, on
10   evidence that Respondent BYTON North America Corporation (“BYTON NA”) was illegally using
11   EDAG’s intellectual property and attempting to move assets overseas. Now BYTON NA moves to
12   vacate that Order, without any evidence or argument that it has stopped trying to access the
13   intellectual property in question or stopped using EDAG’s technology in protype vehicles—nor even
14   any assertion that BYTON NA will stop trying to shift any remaining assets overseas.
15            Under these circumstances, the Court should deny BYTON NA’s motion, and instead
16   confirm: (1) the Arbitrator’s decision that EDAG owns the intellectual property it created under the
17   terms of the parties’ contract; and (2) the resulting injunctive provisions of the Arbitrator’s Order. 1
18            To vacate the November 8, 2021 Order, BYTON NA would need to demonstrate that the
19   Arbitrator, the Honorable William Cahill (Ret.), “manifestly disregarded” the law or issued a
20   “completely irrational” decision when he confirmed EDAG’s property interest in the intellectual
21   property it created (and for which BYTON NA has not paid), and enjoined BYTON NA from
22   accessing, modifying, transferring, or deleting that intellectual property. 11/8/21 Order at 8.
23   BYTON NA has not made, and cannot make, that showing.
24            To the contrary, Judge Cahill acted well within his discretion to rule that BYTON NA cannot
25   access, use, or destroy EDAG’s technological work product until it (BYTON NA) has paid EDAG
26   the over $30 million it owes under the parties’ contract (known as the “Technology and
27
     1
28       EDAG files a Motion to Confirm Arbitration Award herewith.
                                                6
                       OPP. TO MOTION TO VACATE NOVEMBER 8, 2021 ORDER
                                   CASE NO. 3:21-CV-4736-EMC
         Case 3:21-cv-04736-EMC Document 129 Filed 03/01/22 Page 7 of 15



 1   Development Licensing Agreement” or “TDLA”; filed at Docket No. 10-1).
 2          BYTON NA does not attack the substance of that finding or argue (as the law says it must)
 3   that the Arbitrator’s interpretation of the TDLA was wrong (let alone “completely irrational”). 2
 4   BYTON NA does not deny that it attempted to move the IP to inaccessible Chinese servers while
 5   the arbitration was ongoing, nor contest the evidence that its Chinese parent company is testing a
 6   prototype vehicle that incorporates EDAG’s intellectual property. See, e.g., Docket Nos. 22-1, 22-
 7   2, 22-3, 22-4, 22-5 (undisputed evidence provided to Arbitrator regarding BYTON NA’s attempt to
 8   move assets). Instead, BYTON NA recycles an argument the Arbitrator rejected: that the functus
 9   officio doctrine deprived the Arbitrator of his authority to decide ownership of the intellectual
10   property. But that argument rests entirely on California law—federal cases do not apply the doctrine
11   to bar injunctive relief by Arbitrators (to the contrary, the Federal Arbitration Act [FAA] states a
12   preference for issuing such relief in the arbitral forum). And both the Arbitrator and this Court have
13   held that the FAA governs the parties’ arbitration proceeding. 3
14          If functus officio still has any viability at all in the Ninth Circuit, it only bars an arbitrator
15   from re-deciding a specific issue previously resolved in a final award. Which is not what happened
16   here—as BYTON NA repeatedly acknowledges and as the Court ruled, the Arbitrator resolved a
17   new issue left undecided by the Final Award (namely, whether EDAG’s ownership of the
18   intellectual property it was hired to create transferred to BYTON NA under the TDLA).
19          BYTON NA’s second argument, that entry of judgment rendered the Arbitrator’s Order
20   moot, also fails. Entering judgment on the Final Award did not moot the November 8, 2021 Order,
21   because the Court deemed that Order a separate award subject to independent confirmation. The
22
     2
      In the course of attempting to collect BYTON’s debt, EDAG’s collection counsel, David Cook, has
23   uncovered numerous financial improprieties associated with BYTON and its Chinese parent
     company, including the acceptance of a $10 million PPP loans from the U.S. government and the
24
     shifting of hundreds of millions of dollars offshore instead of paying debts owed in the United
25   States. See, e.g., Docket No. 53.01 and supporting exhibts.
     3
       As Mr. Cook has noted, California law does apply in the parallel collections effort. See, e.g.,
26   Docket No. 22; see also Fed. R. Civ. P. 69(a) (“The procedure on execution… must accord with the
27   procedure of the state where the court is located, but a federal statute governs to the extent it
     applies.”); Cal. Code Civ. Proc. §§ 680.010, 683.010 (“Except as otherwise provided by statute or in
28   the judgment, a judgment is enforceable under this title upon entry.”).
                                               7
                      OPP. TO MOTION TO VACATE NOVEMBER 8, 2021 ORDER
                                  CASE NO. 3:21-CV-4736-EMC
           Case 3:21-cv-04736-EMC Document 129 Filed 03/01/22 Page 8 of 15



 1   Court is authorized to confirm the Arbitrator’s interpretation of the TDLA and preserve his finding
 2   that EDAG still owns the intellectual property in question. The Court can also make the injunctive
 3   provisions of the Arbitrator’s order permanent, rather than preliminary.
 4            Indeed, BYTON NA’s eagerness to argue that the November 8, 2021 Order is now moot
 5   demonstrates the clear and present need to confirm that Order. Absent a decision by this Court
 6   confirming the Arbitrator’s decision, BYTON NA will continue trying to improperly access, use,
 7   and move overseas the technology EDAG created without paying EDAG the $30 million ordered by
 8   this Court.
 9                                        II.     APPLICABLE LAW
10            The FAA governs arbitration proceedings under the TDLA, a contract between two
11   international entities engaged in a commercial transaction. See 9 U.S.C. § 2 (FAA’s basic coverage
12   provision makes the statute applicable to contracts evidencing a transaction “involving commerce”);
13   Allied-Bruce Terminix Cos. v. Dobson, 513 U.S. 265, 277 (1995) (language of Section 2 reflects that
14   Congress intended the law’s coverage to extend to the full reach of its Commerce Clause power);
15   Rogers v. Royal Caribbean Cruise Line, 547 F.3d 1148, 1154 (9th Cir. 2008) (same). The
16   presumption in favor of the FAA “applies with special force in the field of international
17   commerce[.]” Mitsubishi Motors Corp. v. Soler Chrysler–Plymouth, Inc. 473 U.S. 614, 631 (1985).
18            EDAG discussed federal arbitration law, and its applicability to proceedings like this one, in
19   its prior Motion to Confirm Arbitration Award and Enter Judgment, filed 10/29/21 (Docket No. 19).
20   Id. at 11:7-12:19. In response, BYTON conceded that the FAA and federal arbitration law apply.
21   See BYTON’s Opposition to Motion to Confirm, filed 11/12/21 (Docket No. 27) 7:11-8:3 & 8 n.1
22   (discussing BYTON’s 90-day deadline to move to vacate under 9 U.S.C. § 12); 9:26-10:6 & nn.9-10
23   (citing only federal law, statutes, and cases). Finally, the Court issued its Order Granting Motion to
24   Confirm Arbitration and its Judgment under the FAA. See, e.g., Docket No. 49, 2:17 (“the Court
25   finds as follows, pursuant to 9 U.S.C. § 9: … ”).
26            Therefore, the determination that federal law governs confirmation of Judge Cahill’s rulings
27   ///
28   ///
                                                8
                       OPP. TO MOTION TO VACATE NOVEMBER 8, 2021 ORDER
                                   CASE NO. 3:21-CV-4736-EMC
          Case 3:21-cv-04736-EMC Document 129 Filed 03/01/22 Page 9 of 15



 1   is now law of the case. 4 “Under the law of the case doctrine, ‘a court is generally precluded from
 2   reconsidering an issue previously decided by the same court, or a higher court in the identical case.’”
 3   Ingle v. Circuit City, 408 F.3d 592, 594 (9th Cir. 2005), quoting United States v. Lummi Indian
 4   Tribe, 235 F.3d 443, 452 (9th Cir. 2000).
 5                                           III.   ARGUMENT
 6   A.      THE COURT CAN AND SHOULD CONFIRM THE ARBITRATOR’S ORDER.
 7           1.     Judge Cahill Correctly Interpreted the TDLA.
 8           BYTON NA suggests that the Court should vacate or modify the Order because it stems
 9   from the Arbitrator’s interpretation of the TDLA. See Motion to Vacate, filed 2/6/22 (Docket No.
10   117) (“Mot. to Vac.”) 7:14-22 (criticizing Arbitrator’s decision to issue a “ruling that EDAG owns
11   100% of the work product/intellectual property developed by EDAG … pursuant to the TDLA”).
12           Interpreting the contract is precisely what the parties authorized Judge Cahill to do. “The
13   arbitrator will have full power and authority to determine issues of arbitrability and to interpret or
14   construe the provisions of the agreement documents and to fashion appropriate remedies (including
15   temporary, preliminary, interim, or permanent injunctive relief).” TDLA, Docket No. 10-1, ¶ 14.4b
16   (emphasis added).
17           Determining that BYTON NA does not have the right to access EDAG’s property only
18   required the Arbitrator to make one finding: that under the TDLA, payment is a condition precedent
19   to delivery. “Performance of a duty subject to a condition cannot become due unless the condition
20   occurs or its non-occurrence is excused.” Impex Enterprises Ltd. v. Sony Pictures Worldwide
21   Acquisitions, Inc., No. CV2171044SJOSKX, 2018 WL 1413089, at *4 (C.D. Cal. Jan. 9, 2018),
22   aff’d, 777 F. App’x 236 (9th Cir. 2019), quoting R.J. Kuhl Corp. v. Sullivan, 13 Cal.App.4th 1589,
23   1601 (1993). The condition, BYTON NA’s payment, did not occur and its non-occurrence was not
24   excused (hence the Arbitrator’s Final Award). Therefore, EDAG did not transfer the rights to its
25
     4
       California law still applies to the ongoing post-judgment collection proceedings. Fed. R. Civ. P.
26   69(a) (“The procedure on execution… must accord with the procedure of the state where the court is
27   located, but a federal statute governs to the extent it applies.”); Cal. Code Civ. Proc. §§ 680.010,
     683.010 (“Except as otherwise provided by statute or in the judgment, a judgment is enforceable
28   under this title upon entry.”).
                                               9
                      OPP. TO MOTION TO VACATE NOVEMBER 8, 2021 ORDER
                                  CASE NO. 3:21-CV-4736-EMC
         Case 3:21-cv-04736-EMC Document 129 Filed 03/01/22 Page 10 of 15



 1   valuable intellectual property—and has no duty to transfer said rights, until BYTON NA pays
 2   EDAG the $30 million it owes. 5
 3          Moreover, BYTON NA makes no effort to dispute or countermand the extensive evidence
 4   that the Arbitrator considered. Before issuing his order confirming EDAG’s ownership of the IP,
 5   Judge Cahill reviewed more than 100 pages of sworn testimony and exhibits demonstrating that:
 6   BYTON NA had attempted to access the IP on JAMA servers multiple times; BYTON NA’s
 7   Chinese parent company has constructed a prototype vehicle that uses EDAG’s IP; and BYTON NA
 8   has transferred numerous patents to its Chinese parent company without consideration. (The same
 9   corpus of evidence was presented to this Court alongside the Walczak Declaration in Support of
10   Motion for Relief from Postjudgment Stay, filed 11/4/21 (Docket No. 22).)
11          BYTON NA, the only party with full information about its own actions, does not even assert
12   that these circumstances have changed since the Arbitrator made his decision. 6
13          2.      Judge Cahill’s Decision Meets the Federal Standard.
14          Judge Cahill’s decision that EDAG retains ownership of its intellectual property until it is
15   paid is entitled to the deference accorded to every arbitrator’s decision under federal law.
16          The FAA “gives federal courts only limited authority to review arbitration decisions, because
17   broad judicial review would diminish the benefits of arbitration.” SMC Promotions, Inc. v. SMC
18   Promotions, No. 04-CV047107JFWVBKX, 2006 WL 6219155 (C.D. Cal. Jan. 19, 2006) (“SMC
19   Promotions”) at *1, quoting Lifescan, Inc. v. Premier Diabetic Servs., Inc., 363 F.3d 1010, 1012
20   (9th Cir. 2004), and citing Kyocera Corp. v. Prudential-Bache Trade Servs., Inc., 341 F.3d 987, 998
21   (9th Cir. 2003) (en banc). “Confirmation is required even in the face of erroneous findings of fact or
22

23   5
       Even if BYTON NA somehow retained an interest in the intellectual property in question, it would
     be required to relinquish it to satisfy the outstanding monetary judgment. To this end, the Court has
24
     already issued a turnover order under California Code of Civil Procedure § 699.040, requiring
25   turnover of property “in the form of a general intangible” by means of the U.S. Marshal “taking it
     into custody[.]” See Order on various motions, Docket No. 89, pp. 6-7. But BYTON NA has
26   demonstrated that it will continue trying to access and use the IP unless and until that process is
     complete.
27   6
       Any effort to do so on Reply would be too late. See United States v. Romm, 455 F.3d 990, 997
28   (9th Cir.2006) (arguments raised by a party for the first time in its reply brief are deemed waived).
                                              10
                      OPP. TO MOTION TO VACATE NOVEMBER 8, 2021 ORDER
                                  CASE NO. 3:21-CV-4736-EMC
          Case 3:21-cv-04736-EMC Document 129 Filed 03/01/22 Page 11 of 15



 1   misinterpretations of law.” SMC Promotions, quoting French v. Merrill Lynch, 784 F.2d 902, 906
 2   (9th Cir. 1986) (additional quotations and internal quotation marks omitted).
 3             Because final resolution of disputes is an essential aim of the FAA, “[i]t is not even enough
 4   that the [arbitrator] may have failed to understand or apply the law. An arbitrator’s decision must be
 5   upheld unless it is completely irrational or it constitutes a manifest disregard for law.” SMC
 6   Promotions, quoting G.C. and K.B. Invs., Inc. v. Wilson, 326 F.3d 1096, 1105 (9th Cir. 2003)
 7   (additional citation omitted). “[F]or the most part, the court defers to the arbitrator’s determination
 8   of the award. Furthermore, ‘[a] claimant may not voluntarily submit his claim to arbitration, await
 9   the outcome, and, if the decision is unfavorable, then challenge the authority of the arbitrator’s act.’”
10   SMC Promotions, quoting Ficek v. S. Pac. Co., 338 F.2d 655, 657 (9th Cir. 1964), cert. denied, 380
11   U.S. 988 (1965) (additional citation omitted).
12             BYTON NA does not cite the deferential standard, and makes no effort to overcome it. 7
13   BYTON NA does not argue that Judge Cahill misunderstood or misapplied the law, or assert that
14   Judge Cahill’s reading of the relevant TDLA provisions was “completely irrational.”
15             Instead BYTON NA argues that the functus officio doctrine withdrew the Arbitrator’s
16   authority to issue an order resolving entitlement to EDAG’s intellectual property, and that the
17   November 8, 2021 Order is now moot. BYTON NA is wrong on both counts.
18   B.        BYTON NA’S ARGUMENTS FAIL.
19             1.     The Functus Officio Doctrine Does Not Apply.
20             Rather than addressing the substance of the Order, BYTON NA asks the Court to find that
21   Judge Cahill lacked the authority to make any decisions after issuing the Final Award. Mot. to Vac.
22   7:23-9:14.
23             Some of this argument appears to be based on the jurisdictional provisions of the California
24   Arbitration Act (CAA). See, e.g., Mot. to Vac. 8:12-9:2. As discussed above, it is law of the case
25   that the FAA, not the CAA, applies.
26             For the remainder of its argument, BYTON NA relies on the common law doctrine of
27
     7
28       Again, any effort to do so on Reply would be too late.
                                                11
                        OPP. TO MOTION TO VACATE NOVEMBER 8, 2021 ORDER
                                    CASE NO. 3:21-CV-4736-EMC
       Case 3:21-cv-04736-EMC Document 129 Filed 03/01/22 Page 12 of 15



 1   functus officio. Id. 7:23-8:11. BYTON NA would have this Court hold that, under functus officio,
 2   the Arbitrator’s jurisdiction expired when he issued his Final Award. Ibid.
 3          This, too, fails because it is law of the case that the FAA applies. Unlike California law,
 4   federal law specifically provides for an arbitrator to retain jurisdiction after issuance of an award, to
 5   issue preliminary relief just like the November 8, 2021 Order. See Ferguson v. Corinthian
 6   Colleges, Inc., 733 F.3d 928, 937 (9th Cir. 2013) (“an arbitrator generally has the authority to enter
 7   injunctive relief against a party that has entered into an arbitration agreement.”). In fact, federal
 8   courts defer to the arbitral forum for injunctions, rather than attempting to resolve issues that may
 9   affect the enforceability of an award. Simula, Inc. v. Autoliv, Inc., 175 F.3d 716 (9th Cir. 1999);
10   DHL Info. Servs. (Americas), Inc. v. Infinite Software Corp., 502 F. Supp. 2d 1082, 1083–84 (C.D.
11   Cal. 2007). See also Bank Leumi, USA v. Miramax Distribution Servs., LLC, No. 2:18-CV-07574-
12   SVW-KS, 2018 WL 7568361, at *8 (C.D. Cal. Dec. 27, 2018) (“Courts accordingly decline requests
13   for injunctive relief when the arbitrator has jurisdiction over interim relief measures under a binding
14   arbitration agreement, even if the court has authority to issue such relief on its own.”).
15          Several federal Courts of Appeal have questioned the overall viability of the functus officio
16   doctrine. In Glass, Molders, Pottery, Plastics, and Allied Workers Int’l Union v. Excelsior Foundry
17   Co., 56 F.3d 844, 846 (7th Cir. 1995), the Seventh Circuit noted that functus officio “[t]oday, [is]
18   riddled with exceptions ... [and] is hanging on by its fingernails[.]” In Eastern Seaboard
19   Construction Co., Inc. v. Gray Construction, Inc., 553 F.3d 1 (1st Cir. 2008), the First Circuit Court
20   of Appeals listed a host of cases in which federal courts had approved an arbitrator’s decision
21   correcting, revising, or amending a previous award. Id. at 4-5.
22          To the extent functus officio survives at all in the federal context, it only “forbids an
23   arbitrator to redetermine an issue which he has already decided.” Bosack v. Soward, 586 F.3d 1096,
24   1103 (9th Cir. 2009), quoting McClatchy Newspapers v. Central Valley Typographical Union No.
25   46, 686 F.2d 731, 734 n. 1 (9th Cir.1982) (additional quotation omitted). See also id. at 1103-1104
26   (functus officio did not apply, because arbitrator’s fifth award did not address any issue determined
27   in a previous final award); ABC Int’l Trades, Inc. v. Fun 4 All Corp., 79 F. App’x 346, 348 (9th Cir.
28   2003) (functus officio does not apply where, as here, arbitrator retains jurisdiction to resolve “any
                                              12
                      OPP. TO MOTION TO VACATE NOVEMBER 8, 2021 ORDER
                                  CASE NO. 3:21-CV-4736-EMC
       Case 3:21-cv-04736-EMC Document 129 Filed 03/01/22 Page 13 of 15



 1   disputes that may arise” under the parties’ contract); Int’l Bhd. of Teamsters, Chauffeurs,
 2   Warehousemen & Helpers of Am., AFL-CIO, Loc. 631 v. Silver State Disposal Serv., Inc., 109 F.3d
 3   1409, 1411 (9th Cir. 1997) (“Teamsters & Chauffeurs”) (functus officio does not bar a new decision
 4   where a previous arbitrator’s award “fails to resolve an issue”).
 5           As BYTON NA acknowledges, the Final Award left ownership of EDAG’s intellectual
 6   property unresolved. “The Final Arbitration Award made no findings regarding (or even mention
 7   of) the ownership of any intellectual property developed by EDAG for Byton NA pursuant to the
 8   TDLA.” Mot. to Vac. 2:11-13. “EDAG’s Motion for Preliminary Injunction was premised on a
 9   new and unadjudicated claim[.]” Id. 3:1-2. See also id. 4:9-10 (describing the 11/8/21 Order as
10   rendering “an entirely new, different and highly significant finding”); id. 6:22 (same). Therefore,
11   functus officio does not apply, and the Arbitrator was free to make a new finding, or issue an order
12   clarifying any ambiguity in the Final Award. As the Ninth Circuit explained:
13                   The completion exception to the doctrine of functus officio applies when
                     an arbitration award fails to resolve an issue or “specify the remedy in
14                   definite terms.” Courier–Citizen Co. v. Boston Electrotypers Union No.
                     11, 702 F.2d 273, 279 (1st Cir.1983). The ambiguity exception, in
15                   contrast, applies when “the award, although seemingly complete, leaves
16                   doubt whether the submission has been fully executed.” La Vale Plaza
                     [, Inc. v. R.S. Noonan, Inc., (3d Cir.1967)], 378 F.2d [569] at 573. Some
17                   courts have commingled the completion and ambiguity exceptions. In
                     Glass, Molders, Pottery, Plastics and Allied Workers Int’l Union v.
18                   Excelsior Foundry Co., 56 F.3d 844 (7th Cir.1995), the Seventh Circuit
                     reasoned as follows: “An award that fails to address a contingency that
19                   has arisen after the award was made is incomplete; alternatively, it is
20                   unclear; either way, it is within an exception to the doctrine.” Id. at 847.

21   Teamsters & Chauffeurs, 109 F.3d at 1411.

22           2. The Court Can and Should Make Injunctive Relief Permanent.

23           The remainder of BYTON NA’s argument consists of a single paragraph noting that a final

24   judgment moots a preliminary injunction entered to preserve the status quo. Mot. to Vac. 9:15-22.

25   That is true as far as it goes, but it does not go very far.

26           It is more accurate to say that a preliminary injunction does not survive the entry of final

27   judgment unless the Court converts it into a permanent injunction. There is no doubt the Court has

28   the authority to do so. See, e.g., Scholl v. Mnuchin, 494 F. Supp. 3d 661, 692-693 (N.D. Cal. 2020)
                                               13
                       OPP. TO MOTION TO VACATE NOVEMBER 8, 2021 ORDER
                                   CASE NO. 3:21-CV-4736-EMC
          Case 3:21-cv-04736-EMC Document 129 Filed 03/01/22 Page 14 of 15



 1   (Hamilton, C.J.), appeal dismissed (Dec. 11, 2020).
 2           Because BYTON NA has identified no flaw in the Order necessitating or justifying
 3   modification, and because the circumstances that led the Arbitrator to grant injunctive relief still
 4   exist, the Court should memorialize EDAG’s sole ownership of the intellectual property, and
 5   continue barring BYTON NA from attempting to access, use, or delete that property until BYTON
 6   NA pays EDAG the over $30 million it is owed. Confirming the November 8, 2021 Order would
 7   accomplish both goals.
 8   C.      IF THE ARBITRATOR’S ORDER IS NOT CONFIRMED, BYTON NA WILL
             ACCESS EDAG’S INTELLECTUAL PROPERTY WITHOUT PAYING.
 9

10           There should be no illusions about BYTON NA’s aim here. By arguing that the judgment in

11   EDAG’s favor has already mooted the November 8, 2021 Order, BYTON NA is signaling its

12   willingness to continue trying to improperly access, use, and move overseas the intellectual property

13   in question, even without an order granting its Motion to Vacate. BYTON NA seeks to erode the

14   authority of the November 8, 2021 Order, because that Order is the one thing standing between

15   BYTON NA and the data stored on JAMA’s servers.

16           Courts grant permanent injunctions where a party shows irreparable harm absent the

17   injunction and insufficiency of legal/monetary remedies, and demonstrates that relief is warranted

18   given the balance of hardships and the public interest. Monsanto Co. v. Geertson Seed Farms, 561

19   U.S. 139, 156–57 (2010); eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006).

20           In his November 8, 2021 decision, the Arbitrator found that: EDAG would suffer irreparable

21   harm absent injunctive relief; the unauthorized access and transfer of EDAG’s property constitutes a

22   form of trespass, for which there is no adequate monetary compensation; the balance of equities

23   strongly favors EDAG; and injunctive relief poses no realistic likelihood of harm to BYTON NA.

24   See 11/8/21 Order at 3-6. It follows from these findings, none of which BYTON NA challenges

25   here, that injunctive relief to protect EDAG’s property has not harmed, and will not harm, the public

26   interest.

27           BYTON NA’s own representations provide the only remaining piece necessary to support a

28   permanent injunction. The potential for irreparable harm has ripened into reality, as BYTON NA
                                              14
                      OPP. TO MOTION TO VACATE NOVEMBER 8, 2021 ORDER
                                  CASE NO. 3:21-CV-4736-EMC
       Case 3:21-cv-04736-EMC Document 129 Filed 03/01/22 Page 15 of 15



 1   has continually attempted to subvert the injunction and obtain the intellectual property held on
 2   JAMA servers—i.e., the property BYTON NA is enjoined from accessing or using. BYTON NA
 3   has never denied that it has made such attempts, despite numerous opportunities to do so. The only
 4   way to prevent BYTON NA’s schemes from succeeding is to confirm the November 8, 2021 Order,
 5   making its provisions permanently enforceable.
 6                                         IV.     CONCLUSION
 7           For the foregoing reasons, BYTON NA’s motion should be denied and the Court should
 8   confirm the Arbitrator’s November 8, 2022 Order. A [Proposed] Order to that effect is submitted
 9   herewith.
10   Dated: March 1, 2022                                 Respectfully submitted,
11                                                        LEWIS & LLEWELLYN LLP
12

13                                                    By: /s/ Evangeline A.Z. Burbidge
14                                                        Evangeline A.Z. Burbidge
                                                          Marc R. Lewis
15                                                        Kenneth M. Walczak
16                                                        Attorneys for Petitioner EDAG
17                                                        ENGINEERING GMBH

18

19
20

21

22

23

24

25

26

27

28
                                              15
                      OPP. TO MOTION TO VACATE NOVEMBER 8, 2021 ORDER
                                  CASE NO. 3:21-CV-4736-EMC
